 

Case 4:20-cv-03709 Document 27-6 Filed on 11/01/20 in TXSD Page 1 of 2

Affidavit of Cobeen Vera

Colleen Vera, appeared in person before me today and stated under oath:

“My name is Colleen Vera. ] am above the age of eighteen and am fully competent to
make this affidavit. The facts stated in this affidavit are within my personal knowledge and are
correct.

“Lam a duly appointed alternate judge for the Central Count Team.

The morning of October 31, 2020, the Central Count Team from both parties began
receiving the Judge’s Booth Controllers (“IBC - trom early voting. The process began
normally. The county clerk staff opened a JBC box in front of us, cut the sea! te the MBB
compartment, removed the MBB and determined the number of ballots on each MBB. The
members of the Central Count Team recorded the number of votes on each MBB.

When the first box arrived from a drive-thru voting center, the County Clerk’s Director of
Elections, Michael Winn, stopped the process. He announced that they had chosen to make a
new MMB card directly from the e-slates at each drive-through-voting location and would be
using if in place of the MBBs from the IBCs. This would be the process for all drive-through-
voting locations, it was explained that using the votes stored on the e-slates was the best way to
ensure the vote count was accurate. He did not explain how he had determined that the vote
count on the JBCs from all drive-through-voting locations was not accurate since the JBCs were
still sealed and would not be opened to remove the MBB cards inside.

In the place of opening the IBCs for each drive eon oting-location, we were shown
a printout listing the number of votes on the e-siate from 8 of the 10 locations with the total
number of votes cast at each. Neither I nor my Republican colleague on the Central Count Team
were given the opporiunity to witness the extraction of the votes from the e-slates or shown any
chain of custody documentation for those e-slates. We were not told when we would receive the
results from the other two locations.

{ compiled the chart below based on (1) e-slate print outs provided by the county clerk
on Octoher 31, 2020 (2) voter roster data posted hy the county clerk on-line as of October 31,
2020, and (3) the daily record data posted by the county clerk after the polls ¢ ” 3sed on October
30, 2020. As demonstrated below, there are significant disparities hetween the e-slate ballot data
from the drive-thru locations and the number of voters reported on the roster and the daily
records.
 

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Location

Harris County Drive-Through-Voting Location Numbers

 

E-Slates

 

| DTV 131K

 

DIV
134w

 

 

 

DTV 139F

 

 

DIV 141U |

DTV 142H

 

 

 

 

_ DTV 145C

DTV 146N | 19,87:

 

 

DTV 147C

 

DTV 1482

 

 

 

ON aeeit |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FURTHER AFFIANT SAYET NOT

Signed Under Oath before me es /020.

 

Colleen Vera

wotavy Public, Ste

 

of Texas

Miore Votes Daily More Votes
Than Voter Than Voter
Names on Record Number
Roster on Daily Record |
#27. | 5,745 | +30__
+102 18, 674 +104
(-99}) | 18,909 (-17),
19,161 ma
+4 2,724 ‘ +19
7483 | 8,245 #188
#511 | 19,349 | +522
11,617 | :
$3t | 10337 |. +37
tioy | 42,451 0 +477

 

 
     
